                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

NERKA TRANSPORT, LLC,
          Plaintiff,
                                                    Case Number 3:13-cv-00048-SLG
v.

BELLAMY BOAT PARTNERSHIP, et al.,
          Defendant.                                FINAL JUDGMENT IN A CIVIL CASE


      JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 XX   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT Bellamy Boat Partnership’s maritime lien does not
constitute marine liens pursuant to 46 U.S.C. § 31343(c)(2) upon
the STARLING S, Official Number 294484.


APPROVED:

 S/SHARON L. GLEASON
 United States District Judge
 Date: MAY 23, 2013
 NOTE: Award of prejudgment interest,                        Marvel Hansbraugh
 costs and attorney's fees are governed                      Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.                             Clerk of Court




[Bellamy Default Judgment 313cv0048 SLG.wpd]{JMT2.WPT*Rev.3/03}




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